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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                              ON MULTIDISTRICT LITIGATION


 IN RE: APPLE INC. SMARTPHONE
 ANTITRUST LITIGATION                                MDL No. 3113



                                      PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that copies of the foregoing Response to Plaintiffs’

Motion to Transfer Pursuant to 28 U.S.C. § 1047 For Coordinated Or Consolidated Pretrial

Proceedings, and this Proof of Service were served on all parties in the following cases

electronically via ECF, or as indicated below, on April 26, 2024.

Aceto v. Apple Inc., D.N.J., C.A. No. 2:24-cv-05663 (served via USPS Priority Mail)

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Chiuchiarelli et al v. Apple, Inc., N.D. Cal., C.A. No. 3:24-cv-01895-VC

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Collins et al v. Apple Inc., N.D. Cal., C.A. No. 3:24-cv-01796-RS (served via USPS Priority
Mail)

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Crocco v. Apple Inc., D.N.J., C.A. No. 2:24-cv-05281-JXN-LDW (served via USPS Priority
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Daines et al v. Apple Inc., D.N.J., C.A. No. 2:24-cv-05359-JXN-LDW

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Dwyer et al v. Apple Inc., N.D. Cal., C.A. No. 5:24-cv-01844-PCP

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Giamanco v. Apple Inc., N.D. Ill., C.A. No. 1:24-cv-02694


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Goldfus v. Apple Inc., D.N.J., C.A. No. 2:24-cv-04108-JXN-LDW

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Kane v. Apple Inc., N.D. Cal., C.A. 4:24-cv-02193-HSG (served via USPS Priority Mail)

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Kolinsky et al v. Apple Inc., D.N.J., C.A. No. 2:24-cv-04232-JXN-LDW

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Kurtz v. Apple Inc., D.N.J., C.A. No. 2:24-cv-04355-JXN-LDW

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Kyndberg v. Apple Inc., D. Minn., C.A. No. 0:24-cv-01107-NEB-TNL

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Loewen v. Apple Inc., N.D. Cal., C.A. No. 3:24-cv-02006-LB (served via USPS Priority Mail)

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Marie et al v. Apple Inc., D.N.J., C.A. No. 2:24-cv-05541-JXN-LDW (served via USPS
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Melkowski v. Apple Inc., D.N.J., C.A. No. 2:24-cv-04827-JXN-LDW (served via USPS
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Miller et al v. Apple Inc., N.D. Cal., C.A. No. 3:24-cv-01988-RFL

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Moody et al v. Apple Inc., D.N.J., C.A. No. 2:24-cv-04560-JXN-LDW

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Schwartz et al v. Apple Inc., N.D. Cal., C.A. No. 4:24-cv-02213-DMR

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Ultra Home Set, LLC v. Apple Inc., D.N.J., C.A. No. 2:24-cv-04223-JXN-LDW (served via
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Watson v. Apple Inc., D.N.J., C.A. No. 2:24-cv-04445-JXN-LDW

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